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                      EXHIBIT B

           Parties Engaged in Sale Discussions
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Company            Primary contacts                                          email                                  Last interaction summary
                                                                                                                    Exxon was not ready to were not ready to make the necessary financial commitment
                                                                                                                    to advance Y10 Camelina development instead seeking a plant science company as
Exxon Mobil        Chris Honsberger, Global Lead Bio-Feed Origination - AG   chris.d.honsberger@exxonmobil.com      a third partner.
Par Pacific        Jon Auerbach, VP Renewables                               JAuerbach@parpacific.com               Par declined to make the necessary investment for Camelina development
                                                                                                                    Both Mitsubishi and Eneos were not ready to make the necessary financial
Mitsubishi/Eneos   Yoshitake Miyake, Business Development Manager            yoshitaka.miyake@mitsubishicorp.com    commitment to advance Y10 Camelina development
                   Hiromichi Ozawa, Deputy GM                                hiromichi.ozawa@mitsubishicorp.com
                   Sho Aono, Eneos                                                                                         y,    g           ,                                   p j
                                                                                                                    ready to make the necessary financial commitment to advance Y10 Camelina
Mitsubishi/Suntory Yohei Hosokawa, Mitsubishi London Branch                  yohei.hosokawa@mitsubishicorp.com      development
                   Kei Akiko, Mitsubishi London Branch                       akiko.kei@mitsubishicorp.com
                   Taro Kuzuno, Suntory                                      taro.kuzuno@suntory.com
                   Takashi Nishjima, Mitsubishi Team Leader                  takashi.nishijima@mitsubishicorp.com
                                                                                                                    Chevron/REG were not ready to make the necessary financial commitment to
Chevron/REG        Steve Klein, Senior Business Analyst                      Steve.Klein@chevron.com                advance Y10 Camelina development
                                                                                                                    Bunge was not ready to make the necessary financial commitment to advance Y10
Bunge              Luis Copeland, Low Intensity Carbon Seeds                 luis.copeland@bunge.com                Camelina development
                                                                                                                    Cargill was not ready to make the necessary financial commitment to advance Y10
Cargill            Lyle J DePauw Director, Crop Innovation                   Lyle_DePauw@cargill.com                Camelina development
                   Nikhil Kumar                                              Nikhil_Kumar@cargill.com
                   Abhishek Bhardwaj                                         Abhishek_Bhardwaj@cargill.com
                   Geronimo Watson, Technical Development Manager            geronimo.watson@neste.com
                   Sara Alonso, Head of Novel Vegetable Oils                 sara.alonso@neste.com
                   Marcus Molthan, Product Manager, Specialty Crops          markus.molthan@kws.com
                                                                                                                    Sustainable Oils was not ready to make the necessary financial commitment to
Sustainable Oils   Mike Karst, CEO                                           mike.karst@susoils.com                 advance Y10 Camelina development
                                                                                                                    Andersons was not ready to make the necessary financial commitment to advance
Andersons          Scott Wernimont, Director of Strategy and Corporate Developmswernimont@andersonsinc.com          Y10 Camelina development
                                                                                                                    Louis Dreyfuss Corporation was not ready to make the necessary financial
Louis Dreyfuss Cor Max Clegg, Head of New Company Ventures                   MAX.CLEGG@ldc.com                      commitment to advance Y10 Camelina development
                   Juan Jose Blanchard, COO                                  JUANJOSE.BLANCHARD@ldc.com
                   David Peterson, Director of Global Marketing              David.Peterson@LDC.com
                                                                                                                    Corbian was not ready to make the necessary financial commitment to advance Y10
                   Tim Rutten, VP Nutrition and Pharma                       tim.rutten@corbion.com                 Camelina development
                                                                                                                    was not ready to make the necessary financial commitment to advance Y10
Corbion            Robert Jan de Voogd, GM Algae                             robert.jan.de.voogd@corbion.com        Camelina development
                   Ruud Peerbooms, Chief Innovation Officer                  Ruud.Peerbooms@corbion.com
                                                                                                                    Nutreco was not ready to make the necessary financial commitment to advance Y10
Nutreco            Mette Lutcherath, Global Category Manager                 Mette.Lutcherath@nutreco.com           Camelina development
                                                                                                                    DSM was not ready to make the necessary financial commitment to advance Y10
DSM                Alex Boswell, Senior Manager, Global Strategy             Alex.Boswell@dsm-firmenich.com         Camelina development
                   Ross Zirkle, Director of Biotechnology Scouting           Ross.Zirkle@dsm-firmenich.com
                                                                                                                    Nissui was not ready to make the necessary financial commitment to advance Y10
Nissui             Takayoshi Sekiguchi, General Manager, Central Labs        takayoshi_sekiguchi@nissui.co.jp       Camelina development
                                                                                                                    EWOS/Cargill was not ready to make the necessary financial commitment to
EWOS/Cargill       Ted Andreas Mollan, VP                                    Ted_Mollan@cargill.com                 advance Y10 Camelina development
                                                                                                                    GDM Seed was not ready to make the necessary financial commitment to advance
GDM Seed           Gabriela Mendes Alves, Business Analyst                  galves@gdmseeds.com                     Y10 Camelina development
                   Fernan Diaz Saubidet, Feed Food and Fuel Business Manage fdiazsaubidet@gdmseeds.com
                   Tiago Gonsalves, Commercial Products                     tgoncalves@gdmseeds.com
                                                                                                                    Elementa was not ready to make the necessary financial commitment to advance
Elementa           Pedro Terrado, Senior Manager                             pterrado@elementafoods.com             Y10 Camelina development
                   Martin Schon, Commercial Director                         mschon@elementafoods.com
                   Jacinto Peralta Ramos, Executive Partner                  jacintopr@elementafoods.com
                                                                                                                    Ash Creek Renewables was not ready to make the necessary financial commitment
Ash Creek RenewaJohn Cusick, Managing Director                               jc@ashcreekrenewables.com              to advance Y10 Camelina development
                                                                                                                    KD Pharma was not ready to make the necessary financial commitment to advance
KD Pharma          Robert Fronzoni, R&D Manager                              roberto.fronzoni@kdpharmagroup.com     Y10 Camelina development
                   Adam Ismail, Chief Strategy Officer                       adam.ismail@kdpharmagroup.com
                                                                                                                    Bayer was not ready to make the necessary financial commitment to advance Y10
Bayer              Kara Isaak, Oilseed New Business Development Manager      kara.isaak@bayer.com                   Camelina development
